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Debtor: Lordstown Motors Corp.                                            Case No. 23-10831 (MFW)
                                                                          Reporting Period: January 2024

          General Notes to Monthly Operating Report and Supporting Documentation

The Debtors have prepared the MOR with the assistance of their advisors and professionals solely for the
purpose of complying with the reporting requirements applicable to the Chapter 11 Cases. The financial
and supplemental information contained herein is unaudited and is not prepared in accordance with
Generally Accepted Principles in the United States (GAAP) nor in accordance with securities laws or
other applicable non-bankruptcy law. Although the Debtors have made commercially reasonable efforts
to ensure the accuracy and completeness of the MOR, inadvertent errors or omissions may exist.


The Debtors have historically accounted for and reported (and their accounting systems and practices
were developed to account for and report) assets and liabilities on a consolidated basis and not on an
entity-by-entity basis or Debtor-by-Debtor basis. Moreover, the Debtors’ business has been operated on a
consolidated basis with no allocation of assets and liabilities to different entities. In preparing this
Monthly Operating Report, the Debtors have reported the assets, liabilities, and other information herein
on a deconsolidated basis based on certain assumptions which may or not ultimately be proven valid. In
light of the foregoing, this report is subject to material change and should not be construed as constituting
a definitive determination regarding the allocation of particular assets or liabilities as among the Debtors
(and there is a significant likelihood that such allocation will not be possible). The rights of all Debtors
(and each of their estates) with respect to these issues are reserved.


The amounts reflected for Total Current Assets, Other Assets (Cumulative Funding of / Investment in
Subsidiary, and Total Assets each include, without limitation, the cumulative funding/investment by
Lordstown Motors Corp. to or in its subsidiary Lordstown EV Corporation. To be clear, the amounts do
not reflect the fair value amount and no fair value analysis or impairment has been conducted with respect
to such funding/investment and any related equity value.

Certain portions of the Debtors' prepetition contingent liabilities reflect disputed liabilities that are subject
to compromise, and all rights of all Debtors are reserved with respect to such liabilities and their
allocation.

              General Notes to Balance Sheet and Statement of Operations Attachments

These financial statements were prepared by the Debtors' management and are preliminary and subject to
final quarter-end closing adjustments, which have not been fully completed prior to preparation of this
MOR.
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                                    Lordstown Motors Corp.
                                         Balance Sheet
                                   As of January 31, 2024 (1)



                                      ASSETS
Current Assets
       Investment in Subsidiary                                                    $ 1,165,398,468
                                                                                               -

Total Current Assets                                                                   1,165,398,468    (2)

Other Assets
                                                                                                 -

Total Other Assets                                                                               -

Total Assets                                                                       $ 1,165,398,468      (2)


                    LIABILITIES AND SHAREHOLDERS' EQUITY
Current Liabilities
       Pre-petition contingent liabilities                                         $     10,461,296

Total Contingent Liabilities                                                             10,461,296

Long-Term Liabilities
                                                                                                 -

Total Long-Term Liabilities                                                                      -

Total Liabilities                                                                        10,461,296

Shareholders' Equity
      Common Stock                                                                            23,441
      Preferred Stock                                                                             30
      Mezzanine Equity                                                                    32,973,707
      Additional Paid-In Capital                                                       1,180,880,483
      Retained Earnings                                                                  (58,940,489)

Total Shareholders' Equity                                                             1,154,937,172    (2)

Total Liabilities and Shareholders' Equity                                         $ 1,165,398,468      (2)

                                                                                    .
Note (2) - The amount reflected represents the cumulative funding/investment by Lordstown
           Motors Corp. to or in its subsidiary Lordstown EV Corporation. The amount does not
           reflect the fair value amount and no fair value analysis or impairment has been conducted.

                                      See Notes to Financial Statements
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                              Lordstown Motors Corp.
                              Statement of Operations
                       For the month ended January 31, 2024




Income                                                             $          -


Total Income                                                                  -


Expenses
       Payroll Expense                                                   154,629
       Legal and Professional Fees                                     3,357,428
       Shop and Misc. Expenses                                           155,607
       Insurance Expense                                                     -

Total Expenses                                                         3,667,664

Net Income/(Loss)                                                  $   (3,667,664)
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            Debtor:    Lordstown Motors Corp.                               Case No. 23-10831 (MFW)
                                                                            Reporting Period: January 2024

                                   Specific Notes to Financial Statements


Note (1):   The Debtors have historically accounted for and reported (and their accounting systems and practices
            were developed to account for and report) assets and liabilities on a consolidated basis and not on an
            entity-by-entity basis or Debtor-by-Debtor basis. Moreover, the Debtors’ business has been operated
            on a consolidated basis with no allocation of assets and liabilities to different entities. In preparing
            this Monthly Operating Report, the Debtors have reported the assets, liabilities, and other
            information herein on a deconsolidated basis based on certain assumptions which may or not
            ultimately be proven valid. In light of the foregoing, this report is subject to material change and
            should not be construed as constituting a definitive determination regarding the allocation of
            particular assets or liabilities as among the Debtors (and there is a significant likelihood that such
            allocation will not be possible). The rights of all Debtors (and each of their estates) with respect to
            these issues are reserved.



Note (2):   The amount reflected represents the cumulative funding/investment by Lordstown Motors Corp. to or
            in its subsidiary Lordstown EV Corporation. The amount does not reflect the fair value amount and
            no fair value analysis or impairment has been conducted with respect to such funding/investment and
            any related equity value.
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In re Lordstown Motors Corp.
Case No. 23‐10831
All bank statements and bank reconciliations for the reporting period
Reporting Period: January 1, 2024 to January 31, 2024

The Debtor hereby submits this attestation regarding bank account reconciliations in lieu of
providing copies of bank statements, bank reconciliations and journal entries during January 2024.

The Debtors’ standard practice is to ensure that bank reconciliations are completed before closing the books
each reporting period. I attest that each of the Debtors’ bank accounts has been reconciled in accordance
with their standard practices.

/s/ Adam Kroll                                                            February 28, 2024
Signature of Authorized Individual                                        Date

Adam Kroll                                                                Chief Financial Officer
Printed Name of Authorized Individual                                     Title of Authorized Individual
